Case 2:20-mj-00914-DJA Document 8 Filed 10/16/20 Page 1 of 1

AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing

 

 

 

 

 

 

 

 

 

 

 

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UNITED STATES DISTRICT COURT COUNSEL/PARTIES OF RECORD
for the
District of Nevada ULE fb 2020
CLE
United States of America ) DISTRO et KOURT

v. ) Case No. 2:20-hji4 DIA DEPUTY
)
HUY NGOC TRAN )
Defendant )

ORDER SCHEDULING A DETENTION HEARING

A detention hearing in this case is scheduled as follows:

 

_ Lloyd D. George United States Courthouse
Place:

3B

 

 

333 Las Vegas Blvd., South Courtroom No.:
Las Vegas, NV 89101
Daniel J. Albregts , U.S. Magistrate Judge Date and Time:

 

October 19, 2020 at 1:45 p.m.

 

IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and

place set forth above.

Date: October 16, 2020

 

Judge's signature

DANIEL J. ALBREGTS, U.S. Magistrate Judge

Printed name and title

 
